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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE NORTHERN DISTRICT OF
                                ILLINOIS EASTERN DIVISION

     DEMETRIUS JOHNSON                                      )
                                                            )    Case No. 20 CV 4156
                Plaintiff,                                  )
                                                            )    Judge Sara L. Ellis
           v.                                               )
                                                            )    Magistrate Judge Heather K. McShain
     REYNALDO GUEVARA, et al.                               )
                                                            )
                Defendants.                                 )     JURY TRIAL DEMANDED
                                                            )


     DEFENDANTS’ RESPONSE IN OPPOSITION TO PLAINTIFF’S MOTION FOR
      LEAVE TO FILE INSTANTER EXCESS PAGES AND STATEMENT OF FACT

        Defendants, Darryl Daley, Geri Lynn Yanow, as special representative for William Erickson

(deceased), Ernest Halvorsen (deceased), John Healy (deceased), and the City of Chicago, together

through their undersigned counsel, respond in opposition to Plaintiff’s Motion for Leave to File

Instanter Excess Pages and Statement of Fact, (Dkt. 342), and state:

                                           INTRODUCTION

        On June 11, 2024, Plaintiff filed his Consolidated Response in Opposition to Defendants’

Summary Judgment Motions (“Plaintiff’s Response”) (Dkt. 341) and his Statement of Disputed

Facts in Support of His Opposition to Defendants’ Motions for Summary Judgment, (“PDSOF”)

(Dkt. 340). In addition, Plaintiff filed his Response to Defendant City of Chicago’s Motion to Bar

Plaintiff’s Expert Dr. Nancy Steblay, (Dkt. 336), and his Response to Defendant City of Chicago’s

Daubert Motion to Bar Opinions of Thomas J. Tiderington. (Dkt. 338). While each of these filings

are a direct violation of the local rules for the Northern District of Illinois 1, the most egregious


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 Each of Plaintiff’s briefs exceed the 15-page limit set forth in Northern District of Illinois Local Rule 7.1
and were filed on the docket without prior approval of the court. In fact, Plaintiff’s Response devotes 126
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violations are of this Court’s Standing Order related to the statement of facts. Accordingly, the

Defendants respectfully request this Court defer ruling on Plaintiff’s Motion for Leave to File

Instanter Excess Pages and Statement of Fact (“Motion for Leave”) to allow time for the

Defendants to file a Motion to Strike.

                            THIS COURT’S STANDING ORDER

       In addition to the Local Rules, this Court’s Standing Order reads as follows:

       Parties are required to file a joint statement of undisputed material facts that the
       parties agree are not in dispute. The joint statement of undisputed material facts
       shall be filed separately from the memoranda of law. It shall include citations to
       admissible evidence supporting each undisputed fact (i.e. the line, paragraph, or
       page number where the supporting material may be found in the record). The
       supporting material must be attached to the joint statement. The parties may not
       file – and the Court will not consider – separate statements of undisputed
       facts. However, the non-moving party may include facts in its response to the
       motion for summary judgment that it contends are disputed in order to demonstrate
       that a genuine issue of material fact exists that warrants denying the motion for
       summary judgment. The non-moving party must include citations to supporting
       material supporting the dispute and attach the same. The moving party may respond
       to these facts in its reply.

       The Seventh Circuit has held on several occasions that this Court’ summary judgment

practice does not violate Local Rule 56.1. See Chi. Studio Rental, Inc. v. Ill. Doc., 940 F.3d 971,

982 (7th Cir. 2019); Sweatt v. Union Pac. R.R. Co., 796 F.3d 701, 711-712 (7th Cir. 2015).

                                          ARGUMENT

       As this Court is acutely aware, the road to the submission of the joint statement of facts in

this matter was extensive, involving multiple filings and substantial assistance and involvement

from the Court. (See e.g., Dkts. 290, 292-1, 299, 302, 305). In fact, this Court brought the Parties

in twice, providing its guidance and expectations related to the standing order. On January 25,

2024, the Court admonished Plaintiff’s counsel that it had been struck by the nature of counsel’s


pages (of his 168 response) to oppose the individual defendants 42 pages memorandum in support of
summary judgment.


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objections in other cases because they are not really objections, but rather, argument. See, Jan. 25,

2024, Hearing Transcript at 7:5-12, attached as Ex. 1. The Court went on to state that the

expectation was that both sides would go into this process in good faith, advising “[y]ou cannot

object to something simply because its not in your favor or you don’t like it or it’s a bad fact.” Id.

at 7:13-17. On February 29, 2024, Plaintiff’s counsel was again directed by the Court that there

should be no argument in the statement of facts, rather, the argument belongs in the brief. See,

Feb. 29, 2024, Hearing Transcript at 3:14-25, 4:24-5:2, attached as Ex. 2.

       After significant devotion of time and effort, the Parties each edited the facts and submitted

a Joint Statement of Undisputed Material Facts, which related to the underlying criminal

investigation, (Dkt. 313), and the Parties’ Joint Statement of Facts, which related to the Monell

claims. (Dkt. 320). These filings totaled 139 facts (of which 27 facts were submitted by Plaintiff)

and 296 facts (of which approximately 115 facts were submitted by Plaintiff) respectively. Id.

       Despite this lengthy and arduous process, Plaintiff has filed what is titled a Statement of

Disputed Facts in Support of His Opposition to Defendants’ Motions for Summary Judgment

which includes 493 paragraphs. (Dkt. 340). But that number itself is misleading as there appear

to be at least 66 sub-paragraphs. Id. While this Court’s Standing Order allows for the non-

moving party to include “facts in its response to the motion for summary judgment that it contends

are disputed in order to demonstrate that a genuine issue of material fact exists that warrants

denying the motion for summary judgment” a cursory review of the PDSOF reveals that the

PDSOF is really just a narrative constructed outside the meet-and-confer process for the JSOF that

is largely unmoored to the record and designed to create the illusion that material disputes exist

that prevent Defendants from prevailing on the arguments raised in their motions.




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       Given these flagrant violations of this Court’s Standing Order and explicit guidance and

expectations, the Defendants intend to file a motion to strike at a minimum, the PDSOF.

Accordingly, the Defendants respectfully request this Honorable Court defer ruling on Plaintiff’s

Motion for Leave.

       WHEREFORE, Defendants, Darryl Daley, Geri Lynn Yanow, as special representative for

William Erickson (deceased), Ernest Halvorsen (deceased), John Healy (deceased), and the City

of Chicago, respectfully request this Honorable Court defer ruling on Plaintiff’s Motion for Leave

to File Instanter Excess Pages and Statement of Fact, and for any other relief as this Court deems

just and reasonable.

 DATE: June 14, 2024                                Respectfully Submitted,

 /s/ Eileen E. Rosen                                /s/ Josh M. Engquist
 Special Assistant Corporation Counsel for          Special Assistant Corporation Counsel for
 Defendant City of Chicago                          Defendant Individual Officers

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